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•
                            IN THE UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF ARKANSAS

                                      JONESBORO DIVISION

                                                                                 u.s.
                                                                                        FILED
                                                                                    DISTRICT COURT
                                                                            EASTERN DISTRICT ARKANSAS

                                                                                        AUG 21 1997
     UNITED STATES OF AMERICA	                              )               JAMES W. McCUKMACK, CLERK
                                                            )               BY:~~
                                                                               DEP.CLERK
                                                            )
     v.	                                                    )      NO. J-C-96-115

                                                            )

                                                            )

     CHARLES HARRIS	                                        )


                                      SATISFACTION OF JUDGMENT


            The United States of America, by and through its attorneys, Paula 1. Casey, United States




•
     Attorney for the Eastern District of Arkansas, and Stacey E. McCord, Assistant United States

     Attorney for said district, hereby states:

            That the judgment entered against the defendant on August 5, 1996, has been satisfied in full.


                                                   Paula 1. Casey

                                                   United States Att~             ~.

                                                      ~//~d/
                                                   By Stacey E. McCord 87114
                                                   Assistant United States Attorney
                                                   Post Office Box 1229
                                                   Little Rock, Arkansas 72203
                                                   501-378-5346




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•                                     CERTIFICATE OF SERVICE
                                                                                      '7
           I hereby certifY that I have mailed a copy of the foregoing pleading this 1ftth day of August,
    1997, to the following:


    Charles Harris

    Route 1, Box 101

    Tyronza, Arkansas 72386


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                                                   -->jzZ~
                                                         ~ /'--­
                                                  Stacey E. McCord
                                                  Assistant United States Attorney




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